
501 So.2d 213 (1987)
Luby R. THOMAS, et al.
v.
STATE FARM INSURANCE CO., et al.
Scott E. THOMAS
v.
STATE FARM INSURANCE CO., et al.
Mary Frances TUGGLE
v.
STATE, Through DEPT. OF TRANSPORTATION AND DEVELOPMENT, et al.
Billy Phillip TUGGLE
v.
STATE, Through DEPT. OF TRANSPORTATION AND DEVELOPMENT, et al.
No. 87-C-0002.
Supreme Court of Louisiana.
January 30, 1987.
Denied.
CALOGERO, J., would grant the writ.
